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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                           BUTTE DIVISION

 UNITED STATES OF AMERICA,                     CR 19-13-BU-DLC

                      Plaintiff,

          vs.                                  OFFER OF PROOF

 FABJAN ALAMETI,

                      Defendant.


                                   INTRODUCTION

      Plaintiff, United States of America, by and through its counsel of record,

Jeffrey K. Starnes, Assistant U.S. Attorney for the District of Montana, hereby files

its Offer of Proof in the above-styled case.



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                                  THE CHARGES

      The defendant is charged by indictment with three counts of making a false

statement to a federal officer in a matter involving terrorism, in violation of 18

U.S.C. § 1001 (“Counts I-III”), and one count of possessing a firearm as an

unlawful user of a controlled substance, in violation of 18 U.S.C. § 922(g)(3)

(“Count IV”). (Doc. 10).

                               PLEA AGREEMENT

      Pursuant to a plea agreement, the defendant will enter a voluntary plea of

guilty to Counts I and III, and to a general waiver of his appellate rights. In

exchange for his guilty plea, the United States will move to dismiss Counts II and

IV at sentencing if the District Court accepts the defendant’s guilty plea. The plea

agreement filed with the Court represents the most favorable offer extended to the

defendant. See, e.g., Missouri v. Frye, 566 U.S. 134 (2012).

                                     PENALTY

      Counts I and III each carry a maximum punishment of eight years of

imprisonment, a $250,000 fine, three years of supervised release, and a $100

special assessment.

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                                    ELEMENTS

      In order for the defendant to be found guilty of the charges contained in

Counts I and III, making a false statement in a matter involving terrorism, the

United States must prove the following elements beyond a reasonable doubt:

      • First, the defendant knowingly made a false statement in a matter within

         the jurisdiction of the Federal Bureau of Investigation;

      • Second, the defendant acted willfully, that is, the defendant acted

         deliberately and with knowledge both that the statement was untrue and

         that his or her conduct was unlawful;

      • Third, the statement was material to the activities or decisions of the

         Federal Bureau of Investigation, that is, it had a natural tendency to

         influence, or was capable of influencing the agency’s decisions or

         activities; and

      • Fourth, the statements were made in relation to a matter involving

         international or domestic terrorism.

      With respect to materiality, the Ninth Circuit holds: “The false statement

need not have actually influenced the agency, and the agency need not rely on the

information in fact for it to be material. United States v. Serv. Deli Inc., 151 F.3d



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938, 941 (9th Cir. 1998); see also United States v. King, 735 F.3d 1098, 1108 (9th

Cir. 2013).

                          ANTICIPATED EVIDENCE

      If this case were tried in the United States District Court, the United States

would prove the following:

      1.      On October 15, 2004, the U.S. Secretary of State designated al Qaeda

in Iraq (“AQI”), then known as Jam’at al Tawhid wa’al-Jihad, as a Foreign

Terrorist Organization (“FTO”) under Section 219 of the Immigration and

Nationality Act (the “INA”) and as a Specially Designated Global Terrorist entity

under section 1(b) of Executive Order 13224. On May 15, 2014, the Secretary of

State amended the designation of AQI as an FTO under Section 219 of the INA

and as a Specially Designated Global Terrorist entity under section 1(b) of

Executive Order 13224 to add the alias Islamic State of Iraq and the Levant

(“ISIL”) as its primary name. The Secretary also added the following aliases to

the FTO listing: the Islamic State of Iraq and al-Sham (i.e., “ISIS”—which is how

the FTO will be referenced herein), the Islamic State of Iraq and Syria, ad-Dawla

al-Islamiyya fi al-‘Iraq wa-sh-Sham, Daesh, Dawla al Islamiya, and Al-Furqan

Establishment for Media Production. In an audio recording publicly released on

June 29, 2014, ISIS announced a formal change of its name to the Islamic

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State. On September 21, 2015, the Secretary added the following aliases to the

FTO listing: Islamic State, ISIL, and ISIS. To date, ISIS remains a designated

FTO.

       2.    On or about May 15, 2018, as part of a terrorism investigation, law

enforcement officers in New York City interviewed the defendant at his home in

the Bronx, New York. During the interview, the stated that he owned and utilized

a Facebook account in the name of “Fabjan Alamati.”

       3.    In January of 2019, an FBI Confidential Human Source began

reporting on an individual later identified as the defendant, who had been posting

pro-ISIS comments on pro-ISIS Facebook pages. The Source reported that he

originally made contact with the defendant on Facebook, and then subsequently

engaged the defendant in private direct messages via an encrypted electronic

messaging application. The Source represented to the defendant that he was an

ISIS supporter who lived in the Middle East.

       4.    The defendant told the Source via text message that he was planning

to travel to Syria to fight with ISIS. The defendant also stated that he had been

considering conducting an attack in the United States. Some of the defendant’s

statements to the Source included the following:




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             a. On February 11, 2019, the defendant sent a message to the Source

                 stating, “I wanna go kill some fags.” When the Source replied that

                 they needed three months to plan, the defendant replied, “We need

                 arms ammo and explosives,” “And also the uhaul,” and “Gasoline

                 mixed in with explosives will make a good blast also it will burn

                 longer;”

             b. On February 22, 2019, the defendant shared a screenshot with the

                 Source of a chart showing blast radius by vehicle type and stated

                 “Small boxer van is uhaul. That a [sic] blast up to 2750 feet;”

             c. Between February 27, 2019 and February 28, 2019, the defendant sent

                 the Source a series of messages, including:

                        • “When will the time come for us to hunt them down. I will

                            stand over them while I pierce their bodies with hollow tips.

                            Inshallah we take as many kuffars1 with us. For the

                            brothers who died and the kids and women.”

                        • “We need extensive research on our ideal target.” When the

                            Source asked what targets, the defendant replied, “Like I




1
    “Kuffar” is a term meaning non-believer.
                                               6
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                         said any military facilities or simply a recruiting center.

                         But there is options for choices.”

                     • The Source asked if the defendant thought bombs were a

                         must, and the defendant replied, “When looking for

                         explosives we are subject to inspection. We must make it

                         our self,” and “But if we can’t try then the guns are the ideal

                         weapons.”

                     • The defendant also stated “I am doing it for the Hadith 2 of

                         eye for eye and blood for blood since America has killed our

                         Muslim civilians.”

       5.     In March 2019, the FBI executed a federal search warrant on the

defendant’s Facebook account. A review of the account revealed a series of

communications between the defendant and another individual in Albanian. An

FBI linguist translated a series of messages between the defendant and the other

individual between January 26 and February 27, 2019, wherein the defendant told

the other individual that he intended to travel to Iraq and fight, and that he was in

contact with a person who would facilitate his travel. The individual who the



2
  A Hadith is a collection of traditions containing sayings of the prophet Muhammad, which
constitute a major source of guidance for Muslims apart from the Qur’an.
                                                  7
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defendant believed would facilitate his travel was, in fact, the FBI Source

described in paragraphs 3 and 4 above. Further review of the defendant’s

Facebook account showed that between December 27, 2017, and January 1, 2018,

the defendant told another individual via a communication on Facebook,

“Inahallah 3 [sic] i come to arish 4 [sic] to join ISIS.”

       6.     On March 13, the defendant sent a message to the Source stating that

he purchased a bust ticket to travel from New York to Bozeman, Montana. The

defendant sent the Source a screen shot of his ticket in the name “Fabjan Alameti.”

The next day, the defendant messaged the Source and said that he was on a bus to

Montana, that he had a job interview, and “I wish I would have fought with u there.

I wanted to be marterd [sic] with you.”

       7.     On March 15, 2019, during a series of conversations with the FBI

Source, the defendant asked the Source to send him a video link to the breaking

news of an attack on a mosque in Christchurch, New Zealand that killed fifty

Muslims. The Source responded to the request by stating: “Akhi5 the video is

heart wrenching walla u don’t even wanna see it.” The defendant replied, “I have

to akhi”, “I [sic] will fuel me,” and, “To plot please send it akhi.” The Source


3
  Inshallah is an Arabic term meaning “if Allah wills it.”
4
  Al-Arish is an Egyptian Mediterranean coastal town located on the Sinai Peninsula.
5
  “Akhi” is an Arabic term meaning “my brother.”
                                                8
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messaged, “Fuel you for what akhi are sure you wanna act like the kuffar and

attack a church or something?” In response, the defendant stated “No not a

church,” and “But I will attack random people to avenge the blood.” The Source

messaged, “But akhi are you sure its [sic] halal6 to shoot random people and act

like the kuffar did to us.” The defendant responded, “Of course akhi,” “We must

ave he [sic] the death and even a single drop of blood should be avenged akhi,”

“Muslim blood is precious,” and “I’m gonna buy a gun in Montana.”

         8.     The defendant arrived in Bozeman, Montana on March 17, 2019. He

purchased a room at the Bozeman Inn, and paid cash for a six-day stay. However,

he was evicted from the Hotel on March 20, 2019, when it was discovered that he

was smoking marijuana in his room. On the evening of March 20, the defendant

checked into a hostel and paid for one week.

         9.     On March 25, 2019, a Bozeman emergency medical technician team

responded to the hostel and transported the defendant to the hospital where he was

treated for acute alcohol intoxication. After he was transported, the hostel

manager secured the defendant’s belongings and found what was believed to be a

handgun. The manager contacted the Bozeman Police Department, who came and

collected the defendant’s belongings. The hostel manager told the police that the


6
    “Halal” is an Arabic term meaning “permissible”.
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defendant was banned from the hostel and the police told the manager to direct the

defendant to the police department to retrieve his belongings.

      10.    Upon release from the hospital, the defendant walked to the police

station and agreed to speak with a police detective and FBI Special Agent Matthew

Deurmeier. During the interview, SA Deurmeier identified himself as an FBI

special agent and advised the defendant several times that it was unlawful for the

defendant to provide false information during the course of the interview. During

the interview, the defendant stated, that he had never talked about traveling

overseas to fight for ISIS, or words to that effect; and that he has never said that he

wanted to hurt any Americans or anyone in the military, or words to that effect.

      11.    During the interview, the defendant consented to a search of his

cellular phone. A review of the phone showed Internet searches in January and

February 2019 for the phrases: “liveleak stabbed to death,” “muslims kill

liveleak,” “us soldiers and pkk killed,” “isis sinai wiki,” “what countries can I visit

with Albanian passport,” “nyc to Albania to Jordon [sic],” “islamic state,” and “isis

attacks liveleak,” “federal buildings in nyc,” “tactical knives for sale,” “taxi driver

gets stabbed liveleak,” “taxi driver gets shot liveleak,” “police ambushed liveleak,”

“isis live map,” “Holland tunnel,” “car bomb,” and “isis jihadology.”




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      12.    On April 3, 2019, the FBI arrested the defendant at a shooting range

in Bozeman. During a Mirandized interview with the FBI, the defendant admitted

that he had previously told others, including the contact on Facebook identified in

paragraph 5 above, that he planned to travel overseas and fight for ISIS because he

wanted to die a martyr’s death. The defendant admitted that he had previously

discussed a plan to fly from New York to Albania to meet a contact, and from

there, they would travel to Syria via Jordan. The defendant said that, once he was

in Syria, he planned to go to a training camp where he could learn how to use

weapons and make explosives. The defendant admitted that he looked at airplane

tickets but he did not have enough money at that time to make the trip.

      13.    The defendant also admitted to exchanging messages with the FBI

Source. The defendant said that before he left to come to Montana, he talked with

the FBI Source about targeting people in the United States, and he identified

potential targets as gay night clubs, a federal building, and an Army recruiting

center. The defendant admitted to talking with the FBI Source about explosives

and admitted sending the Source an Internet link to access a file discussing how to

make explosives. Finally, the defendant admitted to making various statements to

the Source, including that he wanted to “shoot people or something,” “I will attack




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random people to avenge the blood,” and, “I'm going to Montana and gonna [sic]

buy a gun since all they need is a background check and ID.”

      The United States would have presented the above information through the

testimony of law enforcement, expert and lay witnesses, and through the

introduction of various exhibits.

      RESPECTFULLY SUBMITTED this 26th day of August, 2019.

                                     KURT G. ALME
                                     United States Attorney


                                     /s/ Jeffrey K. Starnes
                                     JEFFREY K. STARNES
                                     Assistant U. S. Attorney
                                     Attorney for Plaintiff




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